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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
KNIGHT FIRST AMENDMENT INSTITUTE AT DOC#:
COLUMBIA UNIVERSITY, DATE FILED: 12/27/2021

Plaintiff,
-against- 20 Civ. 2761 (AT)

CENTERS FOR DISEASE CONTROL AND ORDER

PREVENTION and U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES,

 

Defendants.
ANALISA TORRES, District Judge:

 

On September 17, 2021, the Court issued an order denying Defendants’ motion for summary
judgment and granting in part and denying in part Plaintiff's motion for summary judgment. Order,
ECF No. 54. Because the Court was unable to resolve all of the issues raised in the cross-motions for
summary judgment based on the record before it, the Court ordered the parties to make further
productions. See id. at 36. The Court also ordered that, “[a]fter completing the productions described
[on page thirty-six of the Order], the parties may renew their motions for summary judgment.” Jd. at
37. The parties have completed the productions. See ECF Nos. 58, 59, 72, 73, 76. Accordingly, by
January 14, 2022, the parties shall inform the Court whether they intend to file renewed motions for
summary judgment on the outstanding issues.

SO ORDERED.

Dated: December 27, 2021
New York, New York

On

ANALISA TORRES
United States District Judge
